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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TRUSTEES OF THE PAINTERS UNION                          Case No.
DEPOSIT FUND, a voluntary                               Hon.
unincorporated trust,

                  Plaintiff,

-vs

ISA FLOORS, INC., CARLA CARVALHO
and DANILLO MARCOS, jointly and severally,

                  Defendants.
                                                  /
MARK MERLANTI (P35204)
FINKEL WHITEFIELD SELIK
Attorneys for Plaintiff
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Farmington Hills, Michigan 48334-1567
248/855-6500
                                                  I

                                 COMPLAINT

      Plaintiff, by and through its attorneys, FINKEL WHITEFIELD SELIK,

complains against Defendants as follows:

      1)    Plaintiff (the Fund or the Funds) is a voluntary, unincorporated trust,

having its principal place of business in Southfield, Oakland County, Michigan.

      2)    Defendant, ISA Floors, Inc. (ISA) is a Michigan corporation with its

principal place of business at 119 Fairhills Dr., Ypsilanti, MI 48197, and is an
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employer in an industry affecting commerce within the meaning of Section 301 of

the Labor Management Relations Act of 1947, as amended, 29 U.S.C. 185

(hereinafter “the Act”).

      3)     Defendant, Danillo Marcos (Marcos), is an individual who, upon

information and belief, resides in Washtenaw County, Michigan.

      4)     Defendant Carla Carvaiho (Carvaiho) is an individual who, upon

information and belief, resides in Washtenaw County, Michigan.

       5)    Jurisdiction of this Court is predicated on Section 301 of the Act, this

being a suit for violation of a contract between an employer and labor organization

representing employees in an industry affecting interstate commerce. Jurisdiction

of this Court is further predicated on Sections 502(a)(3) and 515 of the Employee

Retirement Income Security Act of 1974, as amended, 29 U.S.C. 1132, 1145

(hereinafter “ERISA”), this being a civil suit on behalf of named fiduciaries to

enforce Defendant ISA’s obligations under the terms and conditions of a certain

collective bargaining agreement and pension and employee benefit plan documents,

and to enjoin certain acts and practices of Defendant ISA which violate the terms

and conditions thereof.

       6)     On January 30, 2018, Defendant ISA entered into a collective

bargaining agreement with IUPAT District Council No. 1M of the International

Brotherhood of Painters and Allied Trades (AFL-CIO), hereinafter “the Painters


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                                                                      t as
Union”. Defendants Carvaiho and Marco are designated in that agreemen
                                                                    of the
President and Vice President of Defendant ISA, respectively. A copy
                                                                             Exhibit
collective bargaining agreement is attached and incorporated by reference as

A.

       7)    Under the collective bargaining agreement, Defendant ISA became

                                                                    e benefit funds
obligated to make periodic payments to Plaintiff for various employe
                                                                  ents represented
established under the collective bargaining agreement. These paym
                                                                 are members of
a portion of wages earned by the employees of Defendant ISA, who
                                                                     ters Union.
the Painters Union, and who work within the jurisdiction of the Pain
                                                                          ement,
       8)     Pursuant to the above-referenced collective bargaining agre
                                                               ities of the various
Plaintiff is a collection fund created to coordinate the activ
                                                             ding, but not limited
employee benefit funds on behalf of the Painters Union, inclu
                                                             on of delinquencies.
to the collection of contributions thereto and the prosecuti
                                                                    g agreement.
 Plaintiff is a third-party beneficiary of the collective bargainin
                                                                             e benefit
        9)    Due to the failure of Defendant ISA to make the required fring

                                                               l 30, 2019, it was
 contributions for the period of November 1, 2018 through Apri
                                                              unpaid fringe benefit
 agreed between the parties that Defendant owed $75,239.25 in
                                                              ages, all as more fully
 contributions and an additional $14,962.44 in liquidated dam
                                                         ement to pay fringe benefit
 set forth in the acknowledgment of indebtedness and agre




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contributions (Payment Agreement), executed by the parties on May 28, 2019,

attached hereto and incorporated by reference as Exhibit B.

      10)    Defendant ISA is in default of the Payment Agreement, having only

made two payments of $6,269.84 each, pursuant to which the amount owed under

that Agreement was accelerated and is presently $77,661.81.

      11)    Defendant ISA has violated the terms of the collective bargaining

agreement with the Painters Union and the various trust agreements incorporated

therein by reference, by failing to file the required monthly reports and make

payment of the periodic fringe benefit contributions that said Defendant ISA was

obligated to pay to Plaintiff, for the months of June 2019 through December 2019,

which obligations are ongoing.

       12)   On or about January 9, 2020, the Fund conducted an audit of Defendant.

ISA. The records submitted by Defendant ISA for the period of June 2019 through

October 2019, consisting of payroll records and were not supported by the required

Monthly Payroll Reports. Further, Defendant ISA, did not provide payroll records

for the months of November and December 2019. A copy of the Debit Memo created

by the Fund pursuant to that audit is attached and incorporated by reference as

Exhibit C.

       13)   As a result of the referenced audit, it was determined that Defendant

ISA, had additional liability to the Fund for unpaid fringe benefits in the amount of


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$53,658.99, plus liquidated damages of $10,731.80. The audit determined that no

additional amounts were owed pursuant to period covered by the above-referenced

Payment Agreement.

      14)    The total amount of fringe benefit contributions and associated

liquidated damages, owed to Plaintiff by Defendant, ISA, is not presently known, as

said Defendant did not produce payroll records or monthly payroll reports for the

period of November 2019 forward. As a result, the total amount of fringe benefit

contributions owed to Plaintiff cannot be determined at this time.

      15)    Defendant ISA has failed and refused to pay the above-described

amounts and otherwise comply with the provisions of the collective bargaining

agreement, relating to the payment of fringe benefit contributions and the submission

of monthly reports.

       16)   On information and belief, the individual Defendants have further acted

in concert to breach the obligations of the business entity, Defendant ISA, to pay

contributions to the Funds and to divert money paid to Defendant ISA to be held in

trust for the Funds.

       17)   Defendant ISA’ s persistent flaunting of the contractual and statutory

obligations to submit contribution reports and pay contributions in a timely manner,

constitutes willful dereliction of its obligations. Such dereliction has caused and will

continue to cause irreparable injury to the participants and beneficiaries of the funds,


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through jeopardizing their rights to benefits necessary to their health and well-being

to which those beneficiaries are entitled.

       18)   The actions of Defendant ISA described above threaten and continue to

threaten the financial integrity of the funds and impair their capacity to formulate

funding standards, as well as cause the Funds to lose the monetary benefit of

investment income which could be realized if said Defendant’s fringe benefit

contributions were remitted in a timely fashion.

       19)   The actions of Defendant ISA and the individual Defendants as

described above, constitute actual threats of irreparable injury to the Funds and their

participants and beneficiaries for which there is no adequate remedy at law, and

public policy supports enjoining Defendants’ activities.

       20)   Under Section 502 of ERISA, 29 U.S.C. 1132, when the trustees of

rnultiemployer fringe benefit funds obtain a judgment in favor of the funds in

litigation to collect unpaid contributions, the Court shall award the greater of interest

or liquidated damages provided for by the funds, in an amount not be exceed twenty

percent of the unpaid contributions.

       21)    Under Section 502 of ERISA, 29 U.S.C. 1132, when the trustees of

multiemployer fringe benefit funds obtain a judgment in favor of the funds in

litigation to collect unpaid contributions, the court shall award        .   .   .   reasonable

attorney fees and costs of the action, to be paid by the defendant, as well as interest


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on the unpaid contributions pursuant to statute.

      22)    On information and belief, Defendants may have engaged in a pattern

of fraud to avoid paying required fringe benefit contributions to the Funds, and

engaged in misconduct which includes converting money paid to Defendant ISA for

the purpose of paying fringe benefit contributions to the Funds, retaining money

required to be held in trust under the Michigan Builders Trust Fund Act, M.C.L.A.

570.151-53 for the benefit of Defendant ISA’s employees, withholding money from

employee wages for transfer to the Funds but failing to do so, failing to submit

monthly reports containing information about work performed by Defendant IS A’s

employees and intentionally engaging in a scheme to deprive the Funds of money

owing to them.

       23)   As officers, owners and/or persons who make decisions with respect to

the business entity’s compliance with their obligations to the Funds, and who

operates the business entity as alter ego of himself/herself, for their benefit, special

circumstances exist to dictate that Defendants Carvaiho and Marcos maintain

responsibility for the business entity compliance with its obligations to the Funds,

on the basis that Defendants Carvaiho and Marcos individually and/or collectively

are an alter ego of the business entity, and on information and belief, Defendants

Carvaiho and Marcos, with fraudulent intent, improperly diverted money which the

business entity and any other entity composing Defendant ISA was required to hold


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in trust for payment of fringe benefit contributions to the Funds under the Michigan

Builders Trust Fund Act, M.C.L.A. 570.151-53, 29 C.F.R. 25 10.3-102 and ERISA,

exclusive of other reasons which may independently dictate that the individual

Defendants maintain responsibility for the business entity’s compliance with its

obligations to the Funds.

      24)    Defendants Carvaiho and Marcos are fiduciaries of the Funds as a result

of their individual and/or collective exercise of authority or control over unpaid

fringe benefit contributions that constitute assets of the Funds. On information and

belief, Defendants Carvaiho and Marcos breached those fiduciary duties to the Funds

by electing to use money within their authority or control for purposes other than

paying required fringe benefit contributions to the Funds.

      WHEREFORE, Plaintiff prays:

      A.     That this Court enter judgment against all Defendants, jointly and

severally, in the amount of$ 142,052.60, representing the $77,661.81 owed pursuant

to the Payment Agreement and $64,390.79 owed pursuant to the January 2020 audit.

Plaintiff further requests that it be awarded its costs and attorney fees against all

Defendants, jointly and severally, including attorney fees owed pursuant to the cited

statute and attorney fees incurred by Plaintiff in the preparation, institution and

prosecution of this proceeding, all applicable liquidated damages and statutory

interest, together with any other legal and/or equitable relief to which it is entitled.


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        B. Plaintiff requests that this Court order the Defendants to forthwith produce

the Monthly Payroll Reports of Defendant ISA Floors, Inc., for the months of June

2019 through December 2019, and additional reports as they become due, such that

Plaintiff may determine the correct amounts owing by them for all such periods,

including liquidated damages, interest for each delinquent monthly contribution,

costs and the attorney fees, including the attorney fees incurred by Plaintiff in the

preparation, institution and prosecution of this proceeding;

        C.    That this Court order that Defendant, ISA Floors, Inc., forthwith

produce its records for an audit to be conducted by the Plaintiff for the period of

November2019, forward;

        D.    That this Court decree specific performance of the trust provision and

collective bargaining agreement regarding the obligations of Defendant, ISA Floors,

Inc.;

        E. That this Court grant Plaintiff such other and further relief as may be

deemed appropriate.

Dated: January 13, 2020                  FINKEL WHITEFIELD SELIK

                                         /s/ Mark Merlanti

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